     Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 1 of 35 PageID #:402




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CORVEL CORPORATION,                               )
                                                  )
                       Plaintiff,                 )      Case No. 1:16-cv-08999
                                                  )
v.                                                )      Hon. Judge Elaine E. Bucklo
                                                  )      Mag. Judge Jeffrey T. Gilbert
HOMELAND INSURANCE COMPANY OF                     )
NEW YORK,                                         )
                                                  )
                  Defendant.                      )
________________________________________          )
                                                  )
HOMELAND INSURANCE COMPANY OF                     )
NEW YORK,                                         )
                                                  )
                       Counter-Plaintiff,         )
                                                  )
v.                                                )
                                                  )
CORVEL CORPORATION,                               )
                                                  )
                       Counter-Defendant.         )

            HOMELAND INSURANCE COMPANY OF NEW YORK’S
     AMENDED AND CORRECTED ANSWER AND AFFIRMATIVE DEFENSES TO
       PLAINTIFF’S AMENDED COMPLAINT AND COUNTER-CLAIM FOR
              DECLARATORY JUDGMENT AND OTHER RELIEF

        Defendant/Counter-Plaintiff, Homeland Insurance Company of New York (“Homeland”),

by and through its undersigned counsel, hereby files it’s Amended and Corrected Answer and

Affirmative Defenses to Plaintiff, CorVel Corporation’s (“CorVel”), Amended Complaint and

Counter-Claim for Declaratory Judgment and Other Relief against CorVel, and in support

thereof states and alleges as follows:

I.      Nature of the Action

        1.    In this insurance coverage action, CorVel seeks damages and prejudgment interest
arising from Homeland’s breach of its contractual defense and indemnity obligations under a
       Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 2 of 35 PageID #:403




Managed Care Errors & Omissions Liability Policy in connection with an underlying arbitration
proceeding in which Hartford Fire Insurance Company (“Hartford”) alleged that it had been
damaged by CorVel’s negligent acts, errors, or omissions in performing medical bill review, re-
pricing, and other services for Hartford. CorVel also seeks damages, including all attorney fees
and costs incurred in this litigation, from Homeland for its breaches of the implied covenant of
good faith and fair dealing.

          ANSWER:          Homeland admits only that CorVel is seeking a declaration under the

policy of insurance issued by Homeland for underlying arbitration proceeding and admits the

existence of the Statement of Claim in that proceeding, which is a writing and speaks for itself.

Other than expressly admitted, Homeland denies the remaining allegations contained in

Paragraph No. 1 and specifically that CorVel is entitled to the relief it requests.

II.       Parties

       2.           CorVel is a Delaware corporation with its principal place of business in
California.

          ANSWER:          Admitted.

       3.     Homeland is an insurance company incorporated and existing under the laws of
the State of New York, with its principal place of business in Minnesota. Homeland regularly
conducts insurance business in this District.

          ANSWER:          Admitted.

III.      Jurisdiction and Venue

        4.      This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)(1) because
the amount in controversy exceeds the sum or value of $75,000.00, exclusive of interest and
costs, and the suit is between citizens of different states.

          ANSWER:          Admitted.

          5.        Venue is proper in this Court pursuant to the agreement of the parties.

          ANSWER:          Admitted.




                                                     2
      Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 3 of 35 PageID #:404




IV.      Factual Background

                                    The Underlying Arbitration

       6.      In 2003 and 2010, CorVel and Hartford entered into “Master Services
Agreements” (the “MSAs”) in which CorVel agreed to provide medical bill review, re-pricing,
and other services for Hartford. Under the MSAs, CorVel also agreed to defend and indemnify
Hartford against all losses arising from CorVel’s negligence in performing those services.

         ANSWER:       Homeland admits the existence of the MSAs, each of which is a writing

and speaks for itself. Except as expressly admitted, Homeland denies the remaining allegations

contained in Paragraph 6.

       7.    On October 2, 2012, Hartford was sued in a class action lawsuit, captioned
Body Recovery Clinic LLC, et al. v. Hartford Accident & Indemnity Co., et al., Case No.
12-2-32265-1 SEA, in the Superior Court of the State of Washington (the “Body Recovery
Lawsuit”).

         ANSWER:       Admitted.

       8.      The Body Recovery Lawsuit’s putative class members included medical providers
in Washington alleging that they were improperly paid less than the amount they billed for
services provided to Hartford’s insureds under the Personal Injury Protection provisions of auto
insurance policies sold by Hartford.

         ANSWER:       Homeland admits the existence of the Body Recovery Lawsuit and the

Complaint filed therein, which is a writing and speaks for itself.

        9.      Hartford settled the Body Recovery Lawsuit and then sought to recover from
CorVel the amount of the settlement and legal expenses incurred by Hartford in defending the
Body Recovery Lawsuit by commencing arbitration against CorVel on May 6, 2014 (the
“Arbitration”). A true and correct copy of Hartford’s Statement of Claim filed in the Arbitration
is attached hereto as Exhibit A.

         ANSWER:       Admitted.

       10.     In its Statement of Claim, Hartford alleged that “[a]s a direct and proximate result
of CorVel’s negligence” in performing medical bill review, repricing, and other services,
“Hartford has and will suffer significant losses, including, but not limited to, the costs and losses
associated with the defense of the Body Recovery Lawsuit and payment of the Body Recovery
Settlement.”




                                                 3
    Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 4 of 35 PageID #:405




       ANSWER:           Homeland admits the existence of the Statement of Claim in the

underlying arbitration, which is a writing and speaks for itself. Except as expressly admitted,

Homeland denies the remaining allegation contained in Paragraph No. 10.

        11.   On January 22, 2016, the arbitration panel ruled in favor of Hartford, awarding
damages in the amount of $1,355,958.10 (the “Arbitration Award”). Homeland, Hartford, and
CorVel agree that the Arbitration Award contains a scrivener’s error in that it erroneously states
that the amount of the award was $1,344,958.10 rather than $1,355,958.10.

       ANSWER:           Admitted.

       12.     CorVel paid Hartford $1,355,958.10 in satisfaction of the Arbitration Award.

       ANSWER:           On information and belief, Homeland admits the allegations contained in

Paragraph No. 12.

       13.      CorVel did not require Hartford to confirm the Arbitration Award as a
prerequisite to payment. Although Homeland denies that the Arbitration Award is covered under
the Policy, Homeland does not dispute that the unconfirmed Arbitration Award constitutes a
“judgment” as the term is used in the Homeland policy’s definition of “Damages.”

       ANSWER:           Admitted.

       14.     CorVel incurred $408,425.28 in attorneys’ fees and costs in connection with the
defense of the Arbitration.

       ANSWER:           Homeland lacks sufficient information to either admit or deny the

allegations contained in Paragraph No. 14, and on that basis, denies them.

                                       The Homeland Policy

       15.     Homeland issued a Managed Care Errors & Omissions Liability Policy to CorVel,
Policy No. MCR-60000-12, for the Policy Period of October 31, 2012 to October 31, 2013 (the
“Policy”). A true and correct copy of the Policy is attached hereto as Exhibit B.

       ANSWER:           Homeland admits the existence of the Homeland Policy, which is a writing

and speaks for itself.

       16.       The Policy requires Homeland to “pay on [CorVel’s] behalf Damages and Claim
Expenses in excess of the Retention that [CorVel is] legally obligated to pay as a result of a
Claim for: . . . (A) an act, error, or omission, or series of acts, errors, or omissions, committed or



                                                  4
    Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 5 of 35 PageID #:406




allegedly committed by [CorVel] . . . in the performance of a Managed Care Activity. . . .” (Ex.
B, Policy, §I(A).)

       ANSWER:         Homeland admits the existence of the Homeland Policy, which is a writing

and speaks for itself. Homeland denies the allegations contained in Paragraph No. 16 to the

extent they incorrectly quote or summarize the terms of the Homeland Policy and denies that the

quoted language entitles CorVel to the relief it requests.

        17.    The Policy defines Managed Care Activity to include, among other things, “any
of the following services or activities, whether provided on paper, in person, electronically, or in
any other form and whether performed by [CorVel] or on [CorVel’s] behalf: . . .Utilization
Review [and] . . . Claim Services . . . .” (Ex. B, Policy, §III(I).)

       ANSWER:         Homeland admits the existence of the Homeland Policy, which is a writing

and speaks for itself. Homeland denies the allegations contained in Paragraph No. 17 to the

extent they incorrectly quote or summarize the terms of the Homeland Policy and denies that the

quoted language entitles CorVel to the relief it requests.

         18.    “Utilization Review” is defined to include, among other things, “the process of
evaluating the appropriateness, necessity or cost of Medical Services for purposes of determining
whether payment or coverage for such Medical Services will be authorized or paid for under
any . . . automobile medical payment . . . .” (Ex. B, Policy, §III(S).)

       ANSWER:         Homeland admits the existence of the Homeland Policy, which is a writing

and speaks for itself. Homeland denies the allegations contained in Paragraph No. 18 to the

extent they incorrectly quote or summarize the terms of the Homeland Policy and denies that the

quoted language entitles CorVel to the relief it requests.

        19.    The Policy defines “Claim Services” to include, among other things, the
submission, handling, investigation, adjudication, denial, payment, or adjustment of claims for
benefits or coverages under . . . automobile medical payment or workers’ compensation plans.”
(Ex. B, Policy, §III(E).)

       ANSWER:         Homeland admits the existence of the Homeland Policy, which is a writing

and speaks for itself. Homeland denies the allegations contained in Paragraph No. 19 to the




                                                 5
    Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 6 of 35 PageID #:407




extent they incorrectly quote or summarize the terms of the Homeland Policy and denies that the

quoted language entitles CorVel to the relief it requests.

        20.    “Claim Expenses” includes the “reasonable and necessary legal and expert fees
and expenses incurred in the investigation, adjustment, defense or appeal of any Claim . . . .”
(Ex. B, Policy, §III(D).)

       ANSWER:         Homeland admits the existence of the Homeland Policy, which is a writing

and speaks for itself. Homeland denies the allegations contained in Paragraph No. 20 to the

extent they incorrectly quote or summarize the terms of the Homeland Policy and denies that the

quoted language entitles CorVel to the relief it requests.

        21.    “Damages” includes any “settlements, judgments, pre-judgment interest, post-
judgment interest, claimants attorney’s fees in an amount equal to the percentage that any
Damages covered under this Policy for any settlement or judgment bear to the total amount of
such judgment or settlement, or other amounts (including punitive, multiple, or exemplary
damages if insurable under the Law Most Favorable to Insurability) which [CorVel is] legally
obligated to pay as a result of a Claim.” (Ex. B, Policy, § III(F).)

       ANSWER:         Homeland admits the existence of the Homeland Policy, which is a writing

and speaks for itself. Homeland denies the allegations contained in Paragraph No. 21 to the

extent they incorrectly quote or summarize the terms of the Homeland Policy and denies that the

quoted language entitles CorVel to the relief it requests.

      22.    Upon exhaustion of the Policy’s self-insured retention, the Policy imposed upon
Homeland “the right and duty to defend the Claim.” (Ex. B, Policy, End. 10(1)(B).)

       ANSWER:         Paragraph No. 22 contains legal conclusion for which no answer is

required and none is made. To the extent an answer is required, Homeland admits the existence

of the Homeland Policy, which is a writing and speaks for itself. Except as expressly admitted,

Homeland denies the remaining allegations contained in Paragraph No. 22.




                                                 6
    Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 7 of 35 PageID #:408




        23.     The Policy also conferred upon Homeland the “right to investigate, or associate in
the defense of, a covered Claim that [CorVel is] defending.” (Ex. B, Policy, End. 10(1)(A).)

       ANSWER:         Homeland admits the existence of the Homeland Policy, which is a writing

and speaks for itself. Homeland denies the allegations contained in Paragraph No. 23 to the

extent they incorrectly quote or summarize the terms of the Homeland Policy and denies that the

quoted language entitles CorVel to the relief it requests.

                                 CorVel’s Claim for Insurance Coverage

       24.    In May 2014, CorVel provided Homeland with notice of Hartford’s Statement of
Claim in the Arbitration and requested coverage.

       ANSWER:         Admitted.

       25.     In a letter dated June 17, 2014, Homeland informed CorVel that “[u]pon
exhaustion of the Retention, Homeland will pay for CorVel’s defense of the Demand for
Arbitration, subject to a complete reservation of Homeland’s rights and defenses.”

       ANSWER:         Homeland admits the existence of the June 17, 2014 letter, which is a

writing and speaks for itself.

       26.    Homeland consented, in writing, to CorVel’s selection of defense counsel and
defense counsel’s hourly rates.

       ANSWER:         Admitted.

       27.     CorVel responded fully to all of Homeland’s requests for information regarding
developments in the Arbitration, provided Homeland with copies of documents filed in the
Arbitration, provided Homeland with a defense expense budget, and kept Homeland updated
with regard to CorVel’s erosion of the Policy’s self-insured retention.

       ANSWER:         Homeland admits the allegations in Paragraph No. 27, with the exception

that CorVel did not timely keep Homeland updated with regard to CorVel’s erosion of the

Policy’s self-insured retention as set forth in Homeland’s Counterclaim below.




                                                  7
    Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 8 of 35 PageID #:409




                                  Homeland’s Denial of Coverage

         28.   By letter dated February 1, 2016, Homeland denied coverage for the Arbitration
Award.

         ANSWER:       Homeland admits the existence of the February 1, 2016 letter, which is a

writing and speaks for itself, and advised CorVel that it intended to file a declaratory judgment

action to determine the rights of the parties.

       29.     On February 9, 2016, CorVel sent its defense invoices to Homeland for payment
of legal fees and costs in excess of the $300,000 self-insured retention. Notwithstanding its
written commitment to reimburse CorVel for its defense fees and costs, Homeland refused to
reimburse CorVel for any of its defense fees or costs.

         ANSWER:       Homeland admits the existence of the February 9, 2016 letter, which is a

writing and speaks for itself, and also admits that it has not indemnified CorVel for its defense

fees and costs, which are the subject of this lawsuit. Homeland denies that it had a “written

commitment to reimburse CorVel for its defense fees and costs” as stated in Paragraph No. 29 or

that legal fees and costs in excess of the $300,000 self-insured retention are covered.

        30.    Homeland has provided no valid justification for its refusal to reimburse CorVel
for any defense fees or costs or for the Arbitration Award.

         ANSWER:       Denied.

                                            COUNT I
                               (Breach of Contract – Duty to Defend)

        31.    CorVel incorporates by reference and re-alleges each of the allegations contained
in paragraphs 1 through 30.

         ANSWER:       Homeland incorporates by reference and re-alleges its answers to each of

the allegations contained in Paragraphs 1 through 30.

        32.      Upon exhaustion of the Policy’s self-insured retention, the Policy obligated
Homeland to pay for the cost of defending any “Claim for . . . an act, error, or omission, or series
of acts, errors, or omissions, committed or allegedly committed by [CorVel] in the performance
of a Managed Care Activity.”




                                                 8
    Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 9 of 35 PageID #:410




       ANSWER:         Paragraph No. 32 contains legal conclusion for which no answer is

required and none is made. To the extent an answer is required, Homeland admits the existence

of the Homeland Policy, which is a writing and speaks for itself. Except as expressly admitted,

Homeland denies the remaining allegations contained in Paragraph No. 32.

       33.     Hartford’s Statement of Claim sought damages for negligent acts, errors, or
omissions allegedly committed by CorVel in the performance of medical bill review, re-pricing,
and other services for Hartford. Each of these services constitutes a “Managed Care Activity”
under the Policy.

       ANSWER:         Paragraph No. 33 contains legal conclusions for which no answer is

required and none is made. To the extent an answer is required, Homeland admits the existence

of the Statement of Claim, which is a writing and speaks for itself and denies the remaining

allegations in Paragraph No. 33.

        34.     In its June 17, 2014 letter, Homeland confirmed that the Statement of Claim
triggered its duty to defend CorVel after exhaustion of the Policy’s self-insured retention.

       ANSWER:         Homeland admits the existence of the June 17, 2014 letter, which is a

writing and speaks for itself, but denies that the Arbitration was pending at the time CorVel

reported to Homeland that it had exhausted the Policy’s self-insured retention.

        35.     Notwithstanding Homeland’s agreement to defend CorVel, Homeland refused to
reimburse CorVel for any of the defense expenses that CorVel incurred in excess of the Policy’s
self-insured retention.

       ANSWER:         Homeland admits that it has not indemnified CorVel for any defense costs

in excess of the Policy’s self-insured retention, but denies that it has any obligation to do so and

instead files its attached Counterclaim for Declaratory Judgment to determine the rights of the

parties under the Homeland Policy.




                                                 9
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 10 of 35 PageID #:411




       36.     Homeland’s failure to reimburse CorVel for any defense expenses that CorVel
incurred in defending the Arbitration constitutes a breach of the Policy.

       ANSWER:        Paragraph No. 36 contains legal conclusions for which no answer is

required and none is made. To the extent an answer is required, Homeland denies the allegations

contained in Paragraph No. 36.

       37.    As a direct result of Homeland’s breach of the Policy, CorVel has incurred
damages, including unreimbursed attorneys’ fees and costs in defending the Arbitration that
should have been paid by Homeland. CorVel also has been and will be forced to incur additional
consequential damages including, without limitation, the cost of attorneys’ fees and other
expenses in connection with this action.

       ANSWER:        Paragraph No. 37 contains legal conclusions for which no answer is

required and none is made. To the extent an answer is required, Homeland denies the allegations

contained in Paragraph No. 37.

       38.      All conditions and requirements imposed by the Policy on CorVel, including but
not limited to payment of premiums and timely notice of claims, have been satisfied and/or have
been waived and/or are subject to an estoppel or other avoidance against Homeland.

       ANSWER:        Paragraph No. 38 contains legal conclusions for which no answer is

required and none is made. To the extent an answer is required, Homeland denies the allegations

contained in Paragraph No. 38.

                                          COUNT II
                            (Breach of Contract – Duty to Indemnify)

        39.    CorVel incorporates by reference and re-alleges each of the allegations contained
in paragraphs 1 through 30.

       ANSWER:        Homeland incorporates by reference and re-alleges its answers to each of

the allegations contained in Paragraphs 1 through 30.

        40.    The Policy obligated Homeland to indemnify CorVel for “Damages . . . in excess
of the Retention that [CorVel is] legally obligated to pay as a result of a Claim for . . . an act,
error, or omission, or series of acts, errors, or omissions, committed or allegedly committed by
[CorVel] in the performance of a Managed Care Activity.”




                                                10
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 11 of 35 PageID #:412




       ANSWER:        Paragraph No. 40 contains legal conclusion for which no answer is

required and none is made. To the extent an answer is required, Homeland admits the existence

of the Homeland Policy, which is a writing and speaks for itself. Except as expressly admitted,

Homeland denies the remaining allegations contained in Paragraph No. 40.

        41.    In the Arbitration Award, CorVel was found to be liable to Hartford for damages
because of CorVel’s “own potential negligence” in the performance of medical bill review, re-
pricing, and other services for Hartford. Each of these services constitutes a Managed Care
Activity under the Policy.

       ANSWER:        Paragraph No. 41 contains legal conclusions for which no answer is

required and none is made. To the extent an answer is required, Homeland admits the existence

of the Arbitration Award, which is a writing and speaks for itself and denies the remaining

allegations contained in Paragraph No. 41.

      42.    Homeland has failed to reimburse CorVel for any portion of the Arbitration
Award that CorVel paid in excess of the Policy’s self-insured retention.

       ANSWER:        Homeland admits that it has not indemnified CorVel for any portion of the

Arbitration Award excess of the Policy’s self-insured retention, but denies that it has any

obligation to do so and instead files its attached Counterclaim for Declaratory Judgment to

determine the rights of the parties under the Homeland Policy.

         43.   Homeland’s failure to reimburse CorVel for the amount that CorVel paid to
satisfy the Arbitration Award constitutes a breach of the Policy.

       ANSWER:        Paragraph No. 43 contains legal conclusions for which no answer is

required and none is made. To the extent an answer is required, Homeland denies the allegations

contained in Paragraph No. 43.

       44.      As a direct result of Homeland’s breach of the Policy, CorVel incurred damages,
including its unreimbursed payment to Hartford to satisfy the Arbitration Award that should have
been paid by Homeland. CorVel also has been and will be forced to incur additional
consequential damages including, without limitation, the cost of attorneys’ fees and other
expenses in connection with this action.



                                               11
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 12 of 35 PageID #:413




       ANSWER:         Paragraph No. 44 contains legal conclusions for which no answer is

required and none is made. To the extent an answer is required, Homeland denies the allegations

contained in Paragraph No. 44.

       45.      All conditions and requirements imposed by the Policy on CorVel, including but
not limited to payment of premiums and timely notice of claims, have been satisfied and/or have
been waived and/or are subject to an estoppel or other avoidance against Homeland.

       ANSWER:         Paragraph No. 45 contains legal conclusions for which no answer is

required and none is made. To the extent an answer is required, Homeland denies the allegations

contained in Paragraph No. 45.

                                         COUNT III
                  (Breach of Implied Covenant of Good Faith and Fair Dealing)

        46.    CorVel incorporates by reference and re-alleges each of the allegations contained
in paragraphs 1 through 45.

       ANSWER:         Homeland incorporates by reference and re-alleges its answers to each of

the allegations contained in Paragraphs 1 through 45.

        47.    Homeland has engaged in conduct designed to frustrate CorVel’s rights to the
benefits of the Policy by, among other things, refusing to reimburse CorVel for the reasonable
and necessary legal fees it incurred in the defense of the Arbitration after Homeland
acknowledged in writing that it would “pay for Corvel’s defense” of the Arbitration.

       ANSWER:         Paragraph No. 47 contains legal conclusions for which no answer is

required and none is made. To the extent an answer is required, Homeland admits only that it

did not reimburse CorVel for legal defense fees.           Other than expressly admitted herein,

Homeland denies the remaining allegations contained in Paragraph No. 47.

        48.     Homeland also has refused to reimburse CorVel for the Arbitration Award despite
the arbitrators’ finding that CorVel is liable to Hartford for its negligent acts, errors, or omissions
in performing medical bill review services for Hartford, which is expressly covered under the
Policy.




                                                  12
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 13 of 35 PageID #:414




          ANSWER:      Paragraph No. 48 contains legal conclusions for which no answer is

required and none is made. To the extent an answer is required, Homeland admits only that it

did not reimburse CorVel for the Arbitration Award. Other than expressly admitted herein,

CorVel denies the remaining allegations contained in Paragraph No. 48.

       49.     As a direct and proximate result of Homeland’s breach of the implied covenant of
good faith and fair dealing, CorVel has incurred damages in an amount to be proven at trial.

          ANSWER:      Denied.


          WHEREFORE, Defendant/Counter-Plaintiff, Homeland Insurance Company of

New York, respectfully prays that this Court enter judgment in its favor granting the following

relief:

                a.     Dismissing CorVel’s Amended Complaint with prejudice;

                b.     Declaring that Homeland has no duty or obligation to indemnify CorVel
                       for the amount of the Arbitration Award;

                c.     Declaring that Homeland has no obligation to indemnify CorVel’s defense
                       fees and costs in excess of the self-insured retention; and

                d.     For all other and further relief that the Court deems just and proper.


                                 AFFIRMATIVE DEFENSES

          Defendant/Counter-Plaintiff, Homeland Insurance Company of New York, asserts the

following Affirmative and Other Defenses to Plaintiff’s Amended Complaint:

                                    First Affirmative Defense

          Homeland has no obligation to indemnify CorVel for the Arbitration Award and for

defense costs associated with the Arbitration because, based on the insuring agreements and

certain terms, definitions, exclusions and conditions of the Homeland Policy, they are not

covered.



                                                13
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 14 of 35 PageID #:415




                                  Second Affirmative Defense

       Homeland has no obligation to indemnify CorVel for the Arbitration Award and for

defense costs associated with the Arbitration because CorVel’s liability in the Arbitration was

not caused by or did not arise out of “Managed Care Activity,” as that term is defined in the

Homeland Policy.

                                   Third Affirmative Defense

       Homeland has no obligation to indemnify CorVel for the Arbitration Award and for

defense costs associated with the Arbitration because the Arbitration Award does not constitute

“Damages,” as that term is defined in the Homeland Policy.

                                  Fourth Affirmative Defense

       Homeland has no obligation to indemnify CorVel for any part of the Arbitration Award

that arose out of Hartford’s conduct.

                                    Fifth Affirmative Defense

       Homeland has no obligation to indemnify CorVel based on Exclusion (K) of the

Homeland Policy, which precludes coverage for “any actual or alleged express or assumed

liability of any of you under any indemnification agreement . . . .” In this instance, all of

CorVel’s liability, other than that arising out of Hartford’s conduct, was assumed by CorVel

under the Master Services Agreements.

                                   Sixth Affirmative Defense

       Homeland has no obligation to indemnify CorVel based on Exclusion (D) of the

Homeland Policy, which precludes coverage based upon or arising out of any “actual or alleged

act, error, or omission if, before the Inception Date of this Policy stated in the Declarations, you

know or should reasonably have known that the act, error, or omission would give rise to a




                                                14
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 15 of 35 PageID #:416




Claim . . . .” In this instance, CorVel knew or should have known that its use of the defective

Ingenix Database in its claim processing software system (i.e., the CorVel System) would give

rise to liability.

                                 Seventh Affirmative Defense

        Homeland has no obligation to indemnify CorVel based on Exclusion (E) of the

Homeland Policy, which precludes coverage “based upon or arising out of any Claim made

against any of you for any act, error, or omission committed or allegedly committed during any

time when you were not an Insured Person or a Named Insured; . . . .” In this instance, CorVel

decided to use the defective Ingenix Database in its CorVel System before it was a Homeland

insured.

                                  Eighth Affirmative Defense

        Homeland has no obligation to indemnify CorVel based on Exclusion (F) of the

Homeland Policy, as this matter arises out of the creation, development, design, manufacture,

programming, leasing, licensing, distribution, assembly, installation, alteration, modification, or

sale of the CorVel System.

                                   Ninth Affirmative Defense

        Homeland has no obligation to indemnify CorVel based on Exclusion (F) of the

Homeland Policy, as the CorVel System failed to perform or function as planned or intended.

                                   Tenth Affirmative Defense

        Homeland has no obligation to indemnify CorVel to the extent that CorVel failed to

comply with all necessary conditions (whether precedent or subsequent).




                                                15
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 16 of 35 PageID #:417




                                 Eleventh Affirmative Defense

       To the extent that any coverage is found to exist under the Homeland Policy, any such

coverage would be subject to retention stated in the Homeland Policy.

                                  Twelfth Affirmative Defense

       To the extent that CorVel has failed to mitigate, minimize or avoid any damages in the

Arbitration Award, there is no coverage for amounts attributable to this failure. Specifically, the

Arbitration Award is the result of both CorVel and Hartford’s conduct. CorVel was provided

with the opportunity in the Arbitration to quantify the damages from Hartford’s conduct, but

could not do so to the satisfaction of the majority of the panel. CorVel had the contractual right

to control Hartford’s defense in the Body Recovery lawsuit, but chose not to do so. As a result,

CorVel could have allocated the amounts in the settlement as between CorVel and Hartford’s

conduct, but did not take the opportunity to do so.

                                Thirteenth Affirmative Defense

       To the extent that CorVel seeks coverage for any sums that it voluntarily assumed or

incurred without the appropriate consent, Homeland has no obligation to indemnify CorVel for

such claims.

                                Fourteenth Affirmative Defense

       To the extent that the injury giving rise to the Arbitration Award was non-fortuitous,

Homeland has no obligation to indemnify CorVel for the Arbitration Award.

                                 Fifteenth Affirmative Defense

       To the extent that other insurance is available to cover the loss otherwise covered by the

Homeland Policy, the “other insurance” clause contained in the Homeland Policy may limit

Homeland’s contribution and/or allocation duties, if any.




                                                16
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 17 of 35 PageID #:418




                                  Sixteenth Affirmative Defense

          Homeland reserves the right to assert additional defenses upon further discovery in this

matter.


          WHEREFORE, Defendant/Counter-Plaintiff, Homeland Insurance Company of New

York, respectfully prays that this Court enter judgment in its favor granting the following relief:

                 a.     Dismissing CorVel’s Amended Complaint with prejudice;

                 b.     Declaring that Homeland has no duty or obligation to indemnify CorVel
                        for the amount of the Arbitration Award;

                 c.     Declaring that Homeland has no obligation to indemnify CorVel’s defense
                        fees and costs in excess of the self-insured retention; and

                 d.     For all other and further relief that the Court deems just and proper.


     COUNTERCLAIM FOR DECLARATORY JUDGMENT AND OTHER RELIEF

          Defendant/Counter-Plaintiff, Homeland Insurance Company of New York (“Homeland”),

for its Counterclaim against Plaintiff/Counter-Defendant, CorVel Corporation (“CorVel”), states

as follows:

                        INTRODUCTION AND NATURE OF ACTION

          1.     In this action, Homeland seeks a declaration that it owed no duty to pay on behalf

of its insured, CorVel, under its Managed Care Organizations Errors and Omissions Liability

Policy, no. MCR-6000-12 (“the Policy”), a $1,355,958.10 arbitration award in favor of

Hartford Fire Insurance Company (“Hartford”) and against CorVel (“the Arbitration Award”)

and $108,425.28 in defense fees incurred by CorVel in excess of its Retention (“CorVel’s

Defense Fees”).




                                                 17
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 18 of 35 PageID #:419




       2.      The Arbitration Award arises out of Hartford’s claim that CorVel was

contractually obligated to indemnify (and defend) Hartford for the amount Hartford agreed to

pay in settlement of a lawsuit captioned Body Recovery Clinic, LLC, et al. v. Hartford Accident

and Indemnity Company, et al., No. 12-2-32265-1 SEA, filed in the Washington Superior Court,

King County (“the Underlying Lawsuit”), in which CorVel was not a party.

       3.      Pursuant to its contract with CorVel, Hartford demanded that CorVel indemnify it

for the settlement Hartford ultimately reached with the Plaintiffs in the Underlying Lawsuit

along with Hartford’s defense costs.

       4.      Hartford contended that the settlement of the Underlying Lawsuit resulted from

CorVel’s incorporation of a faulty database supplied by Ingenix, Inc. (“the Ingenix Database”)

into the claims processing computer software system (known as “the CorVel System”) that it

licensed to Hartford , upon which Hartford relied in determining the amounts it would reimburse

Washington healthcare providers for their services.

       5.      Homeland has no coverage obligation to pay the Arbitration Award or CorVel’s

Defense Fees for several reasons, including, but not limited to, the following:

                  CorVel’s incorporation of the Ingenix Database into software that it

                   created/designed/ developed/programmed does not constitute the performance

                   of a “Managed Care Activity,” as that term is defined in the Policy and thus

                   does not trigger coverage under the Policy;

                  Coverage is precluded based on Exclusion F in the Policy, as amended by

                   Endorsement No. 8, which excludes coverage for any Claim, Damages, or

                   Claim Expenses based upon or arising out of any actual or alleged:

                   (1) creation, development, design, manufacture, programming, leasing,




                                                18
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 19 of 35 PageID #:420




                   licensing, distribution, assembly, installation, alteration, modification, or sale

                   of any computer, computer component, . . . application, program, software,

                   code, script, or data of any type, nature, or kind[.];

                  Any amount owed by CorVel to Hartford pursuant to its contractual

                   indemnification obligation does not constitute “Damages,” as that term is

                   defined in the Policy;

                  Coverage is precluded based on Exclusion K in the Policy, which precludes

                   coverage for “any actual or alleged express or assumed liability” of CorVel

                   under any indemnification agreement; and

                  The underlying settlement amount, and thus the subject Arbitration Award, is

                   reflective of Hartford’s conduct, but Hartford is not a Named Insured and

                   therefore no coverage is available under the Policy for the amount of the

                   award that is based on Hartford’s conduct.

                                            THE PARTIES

       6.      Defendant/Counter-Plaintiff, Homeland, is an insurance company organized

under the laws of New York with its principal place of business in Minnesota. Homeland

transacts business within the State of Illinois and this District. Specifically, Homeland adjusted

CorVel’s claim for coverage in Chicago, Illinois.

       7.      Plaintiff/Counter-Defendant, CorVel, is a corporation organized under the laws of

Delaware with its principal place of business in California. On information and belief, CorVel

has offices in and conducts business in the State of Illinois.




                                                 19
     Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 20 of 35 PageID #:421




                                JURISDICTION AND VENUE

         8.    This declaratory judgment action is brought pursuant to 28 U.S.C. §§ 2201

and 2202 and Rule 57 of the Federal Rules of Civil Procedure.

         9.    This   Court    has   original   jurisdiction   over    this   matter,   pursuant   to

28 U.S.C. § 1332(a)(1), because there is diversity of citizenship between the parties and the

matter in controversy exceeds the sum of $75,000.00, exclusive of interest, attorneys’ fees and

costs.

         10.   Venue is proper in the United States District Court of the Northern District of

Illinois, pursuant to 28 U.S.C. § 1391(a), because a substantial part of the events or omissions

giving rise to the claims asserted below occurred within this judicial district. Specifically,

CorVel’s claim for coverage was adjusted in this District.

                                     BACKGROUND FACTS

A.       The Contracts Between CorVel and Hartford

         11.   Effective October 7, 2003, CorVel entered into a contract with Hartford, which is

entitled Master Services Agreement between Hartford Fire Insurance Company and CorVel

Healthcare Corporation (“the 2003 MSA Contract”).

         12.   Effective February 1, 2010, CorVel entered into a second Master Services

Agreement with Hartford (“the 2010 MSA Contract”). Collectively the 2003 MSA Contract and

the 2010 MSA Contract are referred to herein as the “MSA Contracts.”

         13.   The MSA Contracts each contain indemnification provisions.               By way of

example, the 2003 MSA Contract contains the following:

               17.2   Indemnification by Vendor.
                       Vendor shall indemnify, defend and hold harmless The Hartford, its
               Affiliates, and the other The Hartford Entities, and their respective officers,
               directors, employees, agents, customers, successors and assigns,


                                                 20
     Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 21 of 35 PageID #:422




              (collectively, the “The Hartford indemnitees”) from and against all
              Losses arising from, in connection with or relating to, third party
              allegations of any of the following:
                      (a)    Vendor’s acts or omissions which cause loss or disclosure
              of the Hartford Data;
                     (b)     Any claims arising out of or related to occurrences for
              which damages are recoverable under insurance policies Vendor is
              required to maintain pursuant to ARTICLE 13;
                     (c)    Any claims relating in any way to selection of the
              Transferred Employees or Vendor’s offers of employment, and any claims
              by or on behalf of Transferred Employees that arise from or relate in any
              way to their employment with Vendor or to the termination of their
              employment with Vendor;
                     (d)     Any claims of Vendor’s subcontractors;
                      (e)     Any claim, demand, charge, action, cause of action or other
              proceeding asserted or brought against a The Hartford Indemnitee but
              resulting from an act or omission of Vendor in its capacity as an employer
              of a person (including Transferred Employees), including without
              limitation, any claims of harassment, discrimination, or wrongful
              discharge, payment of compensation, benefits or salary, non-payment of
              taxes, failure to withhold, or claims arising under workers compensation
              Laws, unemployment compensation Laws, occupational health and safety
              Laws, disability Laws, ERISA, or any other applicable Federal, State, or
              local Laws or regulations;
                     (f)     Any amounts, including without limitation taxes, interest
              and penalties, and costs for employee benefits, assessed against a The
              Hartford Indemnitee which are obligations of Vendor under this Agreement
              or any SOW;
                    (g)      Any breach of Vendor’s warranties under this Agreement or
              any SOW;
                       (h)    Vendor’s errors, omissions, or delays caused by its
              negligence or willful misconduct in processing Re-Pricing Data and/or
              failure to update any of its databases appropriately.

B.      The Underlying Lawsuit

        14.   On October 2, 2012, Hartford was named as a defendant in the Underlying

Lawsuit. The Complaint in the Underlying Lawsuit alleged that Hartford wrongfully reduced

payments to medical providers who provided healthcare services to patients covered under




                                              21
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 22 of 35 PageID #:423




Hartford’s automobile PIP coverage. (A copy of the Complaint in the Underlying Lawsuit is

attached hereto and incorporated herein at Exhibit A.)

       15.     Counsel for plaintiffs in the Underlying Lawsuit had filed a similar lawsuit suit

against another insurer in Washington state court alleging flaws in the Ingenix Database in the

case captioned Roche, et al. v. Progressive Max Ins. Co., et al., Consolidated Case No. 08-2-

23797-KNT, King County, Washington.

       16.     Based on information and belief, Progressive did not rely on the CorVel System

but rather relied upon another system that also incorporated the Ingenix Database.

       17.     CorVel was not a defendant in the Underlying Lawsuit or made a party thereto,

but Hartford made CorVel aware of the Underlying Lawsuit on or about November 2012. (See

Ex. A herein, which attaches a copy of correspondence from J. Gentile of Hartford to S.

O’Connor of CorVel, dated November 7, 2012.)

       18.     With regard to CorVel, the Underlying Lawsuit alleged as follows:

               1.26   …Hartford has contracted with a third-party, CorVel, which
                      provides a computer system to aid Hartford in processing,
                      reviewing, adjusting, re-pricing, reducing and/or paying
                      Washington health care provider bills and benefits to insured
                      parties. The computer software system is called the ‘CorVel’
                      system.
               1.27   …Hartford has used the computer software system (CorVel) to
                      determine the amount to reimburse Washington health care
                      providers on the amount they have billed for their services,
                      including the Provider Plaintiffs.
                                                  ***
               1.73   From March 20, 2007 to March 14, 2011, the reduction of PIP
                      medical expense payments by Hartford . . . had been based on a
                      database of information supplied by Ingenix, Inc., Concentra
                      Corporation and/or United Health Group, Inc., which are
                      collectively referred to herein as “Ingenix.”
                                                  ***




                                               22
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 23 of 35 PageID #:424




              1.87    Sometime prior to March 20, 2007, the Attorney General for the
                      State of New York . . . began investigating various Ingenix
                      databases used to reimburse health care providers for their
                      services. As a result of his investigation, the AG/NY found that
                      the Ingenix databases contained a number of flaws.
              1.88    Some of the flaws in the Ingenix databases found . . . include:
                      a.     That it does not determine the numbers or types of
                             providers in any geographical area;
                      b.     That it does not determine the actual type of procedures
                             within a geographical area;
                      c.     That it collects charge data which is not representative of
                             the actual number of procedures performed within a
                             geographical area;
                      d.     That is does not collect sufficient data to enable its users to
                             determine whether the data reflects the charges of providers
                             with any particular degree of expertise or specialization;
                      e.     That it does not collect sufficient provider-specific data to
                             enable its users to determine whether the charges are from
                             one provider, from several providers, or from only a
                             minority or specific subset of the providers in the
                             geographic area;
                      f.     That it fails to compare providers of the same or similar
                             training and charges by procedure code without even
                             separating the charges of physicians and non-
                             physicians; . . ..
              1.89    One or more of the flaws described in paragraph 1.88 above has
                      been present in the database used by Hartford to process, review,
                      adjust, re-price, reduce and/or pay PIP medical expenses in
                      Washington State in the 80th percentile of charges in a
                      geographical area.

       19.    The Underlying Lawsuit was mediated on February 20-21, 2013, which resulted

in a settlement, which among other things obligated Hartford to pay $1,054,150.43.

       20.    On information and belief, Hartford informed CorVel of a settlement in the

Underlying Lawsuit on or about March 29, 2013.




                                               23
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 24 of 35 PageID #:425




       21.     On or about August 5, 2013, the court in the Underlying Lawsuit preliminarily

approved the settlement and stated that those eligible to make claims against Hartford were

claimants described as follows:

                       …iv) received from The Hartford as the total payment or
               reimbursement for all Covered Treatment covered by a single Policy
               (through payments to himself, to herself, or to others on his or her behalf) a
               total amount that was less than the applicable PIP or Med Pay limit(s)
               stated in that Policy; and
                       v)      received from The Hartford as payment or reimbursement
               for at least one Covered Treatment (through payments to himself, to
               herself, or to others on his or her behalf) an amount that was less than
               the charge billed for that treatment because The Hartford or one of its
               agents and/or employees determined, with the aid of a computerized
               bill-review system including the Ingenix database, that the charge billed
               for that treatment exceeded the usual, customary, and/or reasonable
               amount for that treatment; and . . .
               or providers who:
                     …ii) sought payment for that Covered Treatment under the PIP or
               Med Pay coverage provided by a Policy;
                      iii)    received from The Hartford as payment for that Covered
               Treatment an amount that was less than the charge billed for that
               treatment because The Hartford or one of its agents and/or employees
               determined, with the aid of a computerized bill-review system including the
               Ingenix database, that the charge billed for that treatment exceeded the usual,
               customary, or reasonable amount for that treatment; and . . .

       22.     The court in the Underlying Lawsuit finally approved the settlement on or about

November 12, 2013.

       23.     On or about December 6, 2013, Hartford sent its Demand for Indemnification to

CorVel. (A copy of Hartford’s Demand for Indemnification is attached hereto and incorporated

herein at Exhibit B.)

       24.     The Demand for Indemnification stated that the Underlying Lawsuit focused on

the flawed Ingenix Database incorporated by CorVel, which adversely affected Hartford’s ability

to accurately process or pay medical expenses in Washington State.



                                                 24
     Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 25 of 35 PageID #:426




        25.       A subsequent communication from CorVel confirmed that Hartford was

demanding that CorVel “cover at 100% (a) the amounts paid to class members who make claims.

(b) the fees to plaintiffs’ counsel and the named plaintiffs, and (c) administrative costs of

settlement, with all amounts ideally paid in cash but possibly with some amounts paid as a credit

off CorVel invoices over time.” (A copy of electronic correspondence from S. O’Connor of

CorVel to D. Feeney of Homeland, dated February 5, 2013, is attached hereto and incorporated

herein at Exhibit C.)

C.      The Arbitration

        26.       On or about May 6, 2014, Hartford, pursuant to the MSA Contracts, filed its

Demand for Arbitration (“Arbitration Demand” or “Statement of Claim”) against CorVel

because it failed and/or refused to indemnify Hartford for the settlement in the

Underlying Lawsuit and Hartford’s defense costs. (A true and accurate copy of the Demand for

Arbitration/Statement of Claim is attached to Plaintiff’s Amended Complaint at Ex. A

[dkt. # 11-1].)

        27.       Hartford further asserted that the Underlying Lawsuit focused on the Ingenix

Database that the Plaintiffs in the Underlying Lawsuit claimed was inherently flawed and

violated Washington law.           Specifically, the Plaintiffs alleged “that CorVel’s Ingenix

MDR database contained serious flaws which adversely affected the Hartford affiliates’ ability to

accurately process, review, adjust, re-price, reduce and/or pay medical expenses in

Washington State.” (Statement of Claim at pp. 2-3, ¶ 7.)

        28.       The Statement of Claim alleged that flaws in the Ingenix Database include: “[t]hat

it collects charge data which is not representative of the actual number of procedures performed

within a geographic area; [t]hat it does not collect sufficient data to enable its users to determine




                                                  25
    Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 26 of 35 PageID #:427




whether the data reflects the charges of providers with any particular degree of expertise or

specialization; . . . [t]hat it does not collect sufficient data to enable it or its users to determine an

appropriate medical market for comparing like charges; . . . [t]hat it combines zip codes

inappropriately, and uses zip codes instead of appropriate medical markets; . . . [and] [t]hat it

reports charges that are systematically skewed downward.” (Statement of Claim at p. 3, ¶ 8.)

        29.     Hartford alleged that it learned of similar lawsuits filed against several other

insurance companies related to the use of the Ingenix Database.                (Statement of Claim at

p. 4, ¶ 13.)

        30.     On November 25, 2015, the panel in the Arbitration issued its Provisional

Arbitration Decision, awarding Hartford $1,355,958.10, but permitting CorVel to demonstrate

which claims paid by Hartford did not involve Ingenix-related claims but rather were for

Hartford’s conduct.

        31.     In its brief dated December 11, 2015, CorVel argued that the overall award to

Hartford should be reduced by $381,057.42, which CorVel asserted was the portion of the

settlement that should be allocated to Hartford’s conduct.

        32.     On or about January 22, 2016, the Arbitration Panel issued their Final Arbitration

Award in favor of Hartford in the amount of $1,344,958.10 [sic].1

        33.     While acknowledging that Hartford’s settlement included an amount reflective of

Hartford’s conduct, two of the members of the Arbitration Panel found that CorVel had not

identified, with sufficient precision, any non-Ingenix claims paid by Hartford that would reduce

the amount of the award.




1
  The amount stated in the Final Arbitration Award contained a typographical error and should state
$1,355,958.10.


                                                   26
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 27 of 35 PageID #:428




       34.     The Final Arbitration Decision states that, because CorVel did not exercise its

right to defend Hartford, the Underlying Lawsuit was settled without an allocation between

Ingenix-related claims and Hartford’s conduct.

       35.     On or about January 25, 2016, CorVel provided the Final Arbitration Decision to

Homeland.

       36.     As part of its investigation of the claims, Homeland repeatedly inquired of CorVel

the status of the exhaustion of the Retention stated in the Policy.

       37.     At no time during the Arbitration did CorVel inform Homeland that CorVel’s

defense payments, which reduced the Retention, had exhausted the $300,000 Retention stated in

the Policy.

       38.     As of May 31, 2015, CorVel’s defense fees and expenses totaled $212,075.

       39.     As of September 27, 2015, CorVel’s defense fees and expenses totaled

approximately $230,000.

       40.     CorVel did not report that the Retention under the Policy was exhausted until

February 9, 2016, again in response to Homeland’s inquiry.

       41.     At no time during the Arbitration did CorVel advise Homeland that the Retention

was exhausted and request that Homeland fund its defense.

       42.     On information and belief, CorVel paid the Final Arbitration Award in the

amount of $1,355,958.10 on or about April 2016.

                                  THE HOMELAND POLICY

       43.     CorVel first became a Homeland insured on October 31, 2005.

       44.     CorVel reported Hartford’s potential claim during the October 31, 2012 and

November 15, 2013 period of the Policy.




                                                 27
     Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 28 of 35 PageID #:429




          45.     The Policy, which has a $15 million limit and pays Claims Expenses within

limits, is subject to a $300,000 Retention per Claim, which is also reduced by Claim Expenses.

(A copy of the Policy is attached hereto and incorporated herein at Exhibit D.)

          46.     Section I of the Policy (“What This Policy Covers”) states as follows, in relevant

part:

                  We will pay on your behalf Damages and Claim Expenses in excess of
                  the Retention that you are legally obligated to pay as a result of a Claim
                  for:
                  (A)     an act, error, or omission, or series of acts, errors, or omissions,
                          committed or allegedly committed by you or on your behalf in the
                          performance of a Managed Care Activity; . . ..2

          47.     The Policy defines the term “Damages,” as amended by Endorsement No. 7, as:

                  Damages means any settlements, judgments, pre-judgment interest,
                  post-judgment interest, claimant’s attorney’s fees in an amount equal to
                  the percentage that any Damages covered under this Policy for any
                  settlement or judgment bear to the total amount of such judgment or
                  settlement, or other amounts (including punitive, multiple, or exemplary
                  damages if insurable under the Law Most Favorable to Insurability)
                  which you are legally obligated to pay as a result of a Claim. Damages
                  does not include:
                  (1)     any fine, penalty, forfeiture, sanction, tax, fee, liquidated damages,
                          or amount imposed by statute, rule, regulation, or other law;
                          provided that Damages will include fines or penalties which you
                          are legally obligated to pay as a result of a Claim for Antitrust
                          Activity or a Claim for a “HIPAA Violation”, if such fine or
                          penalty is insurable under the Law for Most Favorable to
                          Insurability;
                  (2)     any non-monetary or equitable relief or redress, including but not
                          limited to any cost or expense of complying with any injunctive,
                          declaratory, or administrative relief or specific performance award;
                  (3)     any payment, restitution, return, or disgorgement of any fee, profit,
                          royalty, premium, commission, or charge, or any fund allegedly
                          wrongfully or unjustly held or obtained, including but not limited
                          to any profit, remuneration or advantage to which you were not
                          legally entitled;


2
    The words that appear in bold are bolded and defined in the Policy.


                                                     28
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 29 of 35 PageID #:430




              (4)    any amount any of you pay or may be obligated to pay under any
                     contract or agreement, including but not limited to any policy,
                     bond, benefit plan, or provider agreement;
              (5)    any loss, cost, or expense of correcting, changing, modifying, or
                     eliminating any policy, practice, procedure, system, or rule; or
              (6)    any matter that is uninsurable under applicable law.

        48.   The Policy defines “Claims Expenses” as follows:

              (D)    Claim Expenses means the reasonable and necessary legal and
                     expert fees and expenses incurred in the investigation, adjustment,
                     defense or appeal of any Claim, including the costs of electronic
                     discovery and, with our prior written consent, public relations
                     consultant expenses. Claim Expenses does not include:
                     (1)    any remuneration, salary, wage, fee, expense, overhead, or
                            benefit expense of any of you;
                     (2)    any fee, cost, or expense incurred prior to the time that a
                            Claim is first made against any of you or incurred in
                            pursuing any claim, counterclaim, cross-claim, or other
                            relief brought or maintained by, or on behalf of, or in the
                            name or right of, or for the benefit of any of you; or
                     (3)    any fine, penalty, forfeiture, sanction, tax, or fee.

        49.   The Policy defines the term “Managed Care Activity” as follows, in relevant

part:

              (I)    Managed Care Activity means any of the following services or
                     activities, whether provided on paper, in person, electronically, or
                     in any other form and whether performed by you or on your
                     behalf: Provider Selection; Utilization Review; Quality
                     Improvement Organization Programs; advertising, marketing,
                     selling, or enrollment for health care, consumer directed health
                     care, behavioral health, prescription drug, dental, vision, long or
                     short term disability, automobile medical payment, or workers’
                     compensation plans; Claim Services; establishing health care
                     provider networks including tiered networks; provision of
                     information with respect to tiered networks, including cost and
                     quality information regarding specific providers, services, or
                     charges; reviewing the quality of Medical Services or providing
                     quality assurance; design or implementation of financial incentive
                     plans; design or implementation of Pay for Performance
                     Programs; wellness or health promotion education; development
                     or implementation of clinical guidelines, practice parameters or


                                              29
Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 30 of 35 PageID #:431




                protocols; triage for payment of Medical Services; calculation of
                medical loss ratio and related distribution; and services or activities
                performed in the administration or management of health care,
                consumer directed health care, behavioral health, prescription drug,
                dental, vision, long or short term disability, automobile medical
                payment, or workers’ compensation plans.

   50.   The Policy defines the term “Claims Services” as follows:

         Claim Services means the following services, but only if performed by
         you or on your behalf: the submission, handling, investigation,
         adjudication, denial, payment, or adjustment of claims for benefits or
         coverages under health care, consumer directed health care, behavioral
         health, prescription drug, dental, vision, long or short term disability,
         automobile medical payment, or workers’ compensation plans.

   51.   The Policy contains the following relevant exclusions as follows:

         II.    WHAT THIS POLICY EXCLUDES
                No coverage will be available under this Policy for any Claim,
                Damages, or Claim Expenses, Breach Event . . . (see
                Endorsement No. 8 (6)):
                (D)    based upon or arising out of any:
                       (1)     actual or alleged act, error, or omission if, before
                               the Inception Date of this Policy stated in the
                               Declarations, you knew or should reasonably have
                               known that the act, error, or omission would give
                               rise to a Claim;
                       (2)     actual or alleged act, error, or omission that, before
                               the Inception Date of this Policy stated in the
                               Declarations, was the subject of any notice under
                               any prior or concurrent policy; or
                                            ***
                       provided that if this Policy is a renewal of one or more
                       policies previously issued by us to the Named Insured,
                       and the coverage provided by us to the Named Insured
                       was in effect, without interruption, for the entire time
                       between the inception date of the first such other policy and
                       the Inception Date of this Policy, the reference in this
                       Exclusion to the Inception Date will be deemed to refer
                       instead to the inception date of the first policy under which
                       we began to provide the Named Insured with the
                       continuous and uninterrupted coverage of which this Policy
                       is a renewal; . . .


                                          30
  Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 31 of 35 PageID #:432




                                               ***
                     (E)   based upon or arising out of any Claim made against any
                           of you for any act, error, or omission committed or
                           allegedly committed during any time when you were not an
                           Insured Person or a Named Insured; . . .
                     (F)   based upon or arising out of any actual or alleged:
                           (1)     creation, development, design, manufacture,
                                   programming, leasing, licensing, distribution,
                                   assembly, installation, alteration, modification, or
                                   sale of any computer, computer component
                                   (including but not limited to any hardware, network,
                                   terminal device, data storage device, input and
                                   output device, or back up facility), application,
                                   program, software, code, script, or data of any type,
                                   nature, or kind;
                                                   ***
                           (3)     failure or inability of any computer, computer
                                   component (including but not limited to any
                                   hardware, network, terminal device, data storage
                                   device, input and output device, or back up facility),
                                   application, program, software, code, or script of
                                   any type, nature, or kind (a "System") to perform or
                                   function as planned or intended, including but not
                                   limited to any failure or inability of any System to
                                   prevent any hack, virus, contaminant, worm, trojan
                                   horse, logic bomb, or unauthorized or unintended
                                   accessing or use involving any System;
                                                   ***
                     (K)   for any actual or alleged express or assumed liability of any
                           of you under any indemnification agreement; provided that
                           this Exclusion will not apply to liability that would have
                           attached to you in the absence of such agreement and is
                           otherwise covered under this Policy.

      52.    The Policy states as follows with respect to the Retention, as amended by

Endorsement No. 8:

             Retention. You will be responsible for payment in full of any applicable
             Retention amount as stated in the Declarations with respect to each of the
             following:




                                             31
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 32 of 35 PageID #:433




                (a)     The Retention amount stated in ITEM 4(A) of the Declarations
                        will apply to Damages and Claim Expenses for each Claim for
                        which this Policy provides coverage, other than a Claim for a
                        Network Security Liability or a Privacy Liability; . . .
                Our obligation to make any payment under this Policy for any of the
                above will be excess of the applicable Retention stated above. …

        53.     The Policy states as follows with respect to “HOW CLAIMS WILL BE

HANDLED” under Endorsement No. 10:

                In consideration of the premium charged:
                1.      Section IV HOW CLAIMS WILL BE HANDLED of this Policy is
                        amended to read in its entirety as follows:
                        (A)     You have the right and duty to defend a covered Claim
                                until the Retention for the Claim is exhausted. You also
                                have the right and duty to settle, and otherwise pay
                                Damages and Claim Expenses as a result of a covered
                                Claim up to the amount of the Retention. At our own cost,
                                we have the right to investigate, or associate in the defense
                                of, a covered Claim that you are defending.
                                                        ***


                          COUNT I – DECLARATORY JUDGMENT

        54.     Plaintiff incorporates by references the allegations of Paragraphs 1 through 53 as

if though fully set forth herein.

        55.     The amount CorVel owes Hartford for the Arbitration Award arises from

CorVel’s incorporation of the flawed Ingenix Database into its own proprietary software relied

upon by Hartford.

        56.     The Arbitration Award is not covered under the Policy because it is not a Claim

for a “Managed Care Activity” or “Damages,” as those terms are defined in the Policy.

        57.     The Arbitration Award is not covered under the Policy due to Exclusion D for

reasons including, but not limited to, CorVel knew or should have known of the problems with

the Ingenix Database and its flawed nature before the Inception Date of the Policy.


                                                 32
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 33 of 35 PageID #:434




       58.     The Arbitration Award is not covered under the Policy due to Exclusion E for

reasons including, but not limited to, CorVel’s use of the Ingenix Database happened when

CorVel was not an “Insured Person” or a “Named Insured.”

       59.     The Arbitration Award is not covered under the Policy due to Exclusion F for

reasons including, but not limited to, CorVel’s incorporation and/or use of the faulty

Ingenix Database.

       60.     The Arbitration Award is not covered under the Policy due to Exclusion K for

reasons including, but not limited to, CorVel’s assumption of liability under the MSA Contracts.

       61.     Some or all of the Arbitration Award is not covered under the Policy because it

arises out of Hartford’s conduct as opposed to the conduct of CorVel.

       62.     There is no coverage under the Policy because CorVel’s claim for coverage is not

fortuitous.

       63.     There is no coverage under the Policy due to the known loss or loss in progress

doctrines.

       64.     There is no coverage under the Policy for CorVel’s Defense Fees because they

were incurred without Homeland’s written consent, and thus are not covered.

       65.     There is no coverage under the Policy for CorVel’s Defense Fees because the

Arbitration Award is not covered.

       66.     Homeland’s investigation is ongoing, and it reserves the right to raise any and all

additional defenses to coverage as are warranted by the facts and the law.




                                               33
   Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 34 of 35 PageID #:435




       WHEREFORE, Defendant/Counter-Plaintiff, Homeland Insurance Company of New

York, respectfully prays that this Court enter judgment in its favor granting the following relief:

               (a)     Declaring that Homeland has no duty or obligation to indemnify CorVel
                       for the amount of the Arbitration Award;

               (b)     Declaring that Homeland has no duty or obligation to pay Defense Fees in
                       excess of the Retention under the Homeland Policy; and

               (c)     For all other and further relief that the Court deems just and proper.

Dated: October 27, 2016

                                                      Respectfully submitted,

                                                      HOMELAND INSURANCE COMPANY
                                                      OF NEW YORK


                                                      By:    s:/Linda J. Carwile
                                                             One of Its Attorneys

Roderick T. Dunne
Linda J. Carwile
KARBAL, COHEN, ECONOMOU, SILK & DUNNE, LLC
150 South Wacker Drive, Suite 1700
Chicago, Illinois 60606
Tel: (312) 431-3700
Fax: (312) 431-3670
rdunne@karballaw.com
lcarwile@karballaw.com




                                                 34
  Case: 1:16-cv-08999 Document #: 17 Filed: 10/27/16 Page 35 of 35 PageID #:436




                             CERTIFICATE OF SERVICE

        I, Linda J. Carwile, an attorney of record in this matter, hereby state that, on
October 27, 2016, I electronically filed the foregoing, Homeland Insurance Company of
New York’s Amended Answer and Affirmative Defenses to Plaintiff’s Amended Complaint and
Counter-Claim for Declaratory Judgment and Other Relief, using the CM/ECF SYSTEM, which
will send notification to all attorneys of record on this the 27th day of October, 2016.




                                                      s:/Linda J. Carwile
                                               One of the Attorneys for
                                               Defendant/Counter-Plaintiff,
                                               Homeland Insurance Company of New York




                                          35
